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EXHIBIT H
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Column Record 1
Encrypted_ICN 500052425755
Claim_Type D
Claim_Status_Indicator A
First_Service_Date 2/21/2000
Claim_Status_Date 3/2/2000
Original_Paid_Date 3/2/2000
Comp_Code NULL
State_Aid_Category_Code 11
Insurance_Amount 0
Header_Eob_Description 365 - FEE ADJUSTED TO MAXIMUM ALLOWABLE.
Metric_Drug_ Quantity -1
NDC 74613802
Therapeutic_Class 3886W8F
Generic_Product_Indicator 2
Drug_Class_ Code F
Drug_Form_Code 2
Number_of_Days_ Supplied 7
Prescription_Refill_Indicator 0
Billing Provider_Type 7
Total_ Billed 117.2
Paid_Amount 32
Allowed_Amount 32
Disp_Fee 0
Copay_Amount 0
Net_Billed_Amount 117.2
Professional_Service_Fee 0
Associated RX_Fee 0
Quantity_Billed 2000
STECK_First_Service_Date 20000221
STECK_Claim_Status_ Date 20000302
STECK_Original_Paid_Date 20000302
STECK_Insurance_Amount 0
STECK_Metric_Drug_ Quantity -1
STECK_Total_Billed 117.2
STECK_Paid_Amount 32
STECK_Allowed_Amount 32
STECK_Disp_Fee 0
STECK_Copay_Amount 0
STECK_Net_Billed_Amount 117.2
STECK_Associated_RX_Fee 0
STECK_Quantity_Billed 2000
STECK_ID 693313
Per Unit Ingredient Cost 0.01325

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Calculation

(A-5.51)/B
